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                                                                4 Facsimile: 954.771.9264

                                                                5 Attorneys for Howard M. Ehrenberg,
                                                                    Chapter 7 Trustee
                                                                6

                                                                7

                                                                8                              UNITED STATES BANKRUPTCY COURT
                                                                9                                 CENTRAL DISTRICT OF CALIFORNIA
                                                               10                                      LOS ANGELES DIVISION
                                                               11 In re:                                            Case No.: 2:21-bk-16403-VZ
                        1875 CENTTURY PARK EAST, SUITE 1900

                         TEL 213.626.2311 • FAX 954.771.9264
GREENSPOON MARDER LLP

                           LOS ANGELES, CALIFORNIA 90067




                                                               12 SPECTRUM LINK, INC.,                              Chapter 7
                                                               13                    Debtor.                        Adversary No.: 2:23-ap-01177-VZ
                                                               14                                                   NOTICE OF MOTION FOR DEFAULT
                                                                  HOWARD M. EHRENBERG, Chapter 7                    JUDGMENT
                                                               15 Trustee,
                                                                                                                    Date:    November 7, 2023
                                                               16                    Plaintiff,                     Time:    11:00 a.m.
                                                                                                                    Place:   Courtroom 1368
                                                               17           vs.                                              255 East Temple Street
                                                                                                                             Los Angeles, CA 90012
                                                               18 LOIS PRICE, an individual,                                 Hon. Vincent P. Zurzolo
                                                               19                    Defendant.
                                                               20

                                                               21

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                                                                1 TO THE HONORABLE VINCENT P. ZURZOLO, UNITED STATES

                                                                2 BANKRUPTCY JUDGE, THE OFFICE OF THE UNITED STATES TRUSTEE,

                                                                3 THE DEFENDANT, AND PARTIES ENTITLED TO NOTICE:

                                                                4
                                                                            PLEASE TAKE NOTICE THAT plaintiff Howard M. Ehrenberg, solely in his
                                                                5
                                                                    capacity as the chapter 7 trustee ("Trustee") of Spectrum Link, Inc., has filed a "Plaintiff's
                                                                6
                                                                    Motion For Default Judgment Under LBR 7055-1" ("Motion") seeking the entry of a
                                                                7
                                                                    default judgment against defendant Lois Price ("Defendant") in the amount of $82,940.
                                                                8
                                                                            PLEASE TAKE FURTHER NOTICE THAT the Motion will be heard on
                                                                9
                                                                    November 7, 2023, at 11:00 a.m. by the United States Bankruptcy Court for the Central
                                                               10
                                                                    District of California, the Honorable Vincent P. Zurzolo, presiding, in Courtroom 1368
                                                               11
                        1875 CENTTURY PARK EAST, SUITE 1900

                         TEL 213.626.2311 • FAX 954.771.9264




                                                                    located at 255 E. Temple Street, Los Angeles, California 90012.
GREENSPOON MARDER LLP

                           LOS ANGELES, CALIFORNIA 90067




                                                               12
                                                                            PLEASE TAKE FURTHER NOTICE THAT the Motion is made pursuant to
                                                               13
                                                                    Rule 55 of the Federal Rules of Civil Procedure (made applicable to this adversary
                                                               14
                                                                    proceeding pursuant to Rule 7055 of the Federal Rules of Bankruptcy Procedure), and
                                                               15
                                                                    Local Bankruptcy Rule 7055-1(b) on the grounds that, although a judgment for
                                                               16
                                                                    affirmative relief has been sought against Defendant in this action ("Action"), Defendant
                                                               17
                                                                    has failed to plead or otherwise defend the Action and on July 26, 2023, default was
                                                               18
                                                                    entered against Defendant.
                                                               19
                                                                            PLEASE TAKE FURTHER NOTICE THAT any formal response in
                                                               20
                                                                    opposition to the Motion must (1) be in the form required by Local Bankruptcy Rule
                                                               21
                                                                    9013-1(f)(1), (2) be filed with the Clerk of the Court, and (3) be served upon the Trustee
                                                               22
                                                                    through his counsel (whose name and contact information are indicated in the upper left-
                                                               23
                                                                    hand corner of the first page of this notice) and the United States Trustee (at 255 East
                                                               24
                                                                    Temple Street, Los Angeles, CA 90012) within 14 days prior to the hearing on the
                                                               25
                                                                    Motion, that is, by October 24, 2023. Pursuant to Local Bankruptcy Rule 9013-1(h), the
                                                               26
                                                                    failure to timely file and serve an opposition to the Motion may be deemed as your
                                                               27
                                                                    consent to the granting of the Motion.
                                                               28


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                                        PROOF OF SERVICE OF DOCUMENT
          I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
          address is 1875 Century Park East, Suite 1900, Los Angeles, CA 90067.

          A true and correct copy of the foregoing document entitled (specify): NOTICE OF MOTION
          FOR DEFAULT JUDGMENT will be served or was served (a) on the judge in chambers in
          the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:
          1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
          controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
          hyperlink to the document. On (date) 10/06/23 I checked the CM/ECF docket for this bankruptcy case or
          adversary proceeding and determined that the following persons are on the Electronic Mail Notice List to
          receive NEF transmission at the email addresses stated below:

                  Howard M Ehrenberg (TR) ehrenbergtrustee@gmlaw.com, ca25@ecfcbis.com;
                   C123@ecfcbis.com;howard.ehrenberg@ecf.courtdrive.com;Karen.Files@gmlaw.com
                  Mark S Horoupian on behalf of Trustee Howard M. Ehrenberg
                   mark.horoupian@gmlaw.com,
                   mhoroupian@ecf.courtdrive.com;cheryl.caldwell@gmlaw.com;karen.files@gmlaw.com
                  United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
                  Steven Werth on behalf of Trustee Howard M. Ehrenberg
                   steven.werth@gmlaw.com, swerth@ecf.courtdrive.com;
                   pdillamar@ecf.courtdrive.com,Karen.Files@gmlaw.com;patricia.dillamar@gmlaw.com
                                                                     Service information continued on attached page.
          2. SERVED BY UNITED STATES MAIL:
          On (date) 10/06/23 I served the following persons and/or entities at the last known addresses in this
          bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope
          in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
          constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
          document is filed.
              Lois Price, an individual,                                              Lois Price, an individual,
              1348 Spectrum,                                                          11724 216th St.,
              Irvine, CA 92618                                                        Lakewood, CA 90715

              The Honorable Vincent P. Zurzolo
              U.S. Bankruptcy Court
              255 E. Temple Street, Suite 1368
              Los Angeles, CA 90012

                                                                              Service information continued on attached page.


          3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL
          (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on
          (date) 10/ /23, I served the following persons and/or entities by personal delivery, overnight mail
          service, or (for those who consented in writing to such service method), by facsimile transmission and/or
          email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight
          mail to, the judge will be completed no later than 24 hours after the document is filed.

                                                                              Service information continued on attached page.
PMD 55586352v1 This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of
California.

          June 2012                                                                    F 9013-3.1.PROOF.SERVICE
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          I declare under penalty of perjury under the laws of the United States that the foregoing is true and
          correct.

               10/06/23                          Patricia Dillamar                             /s/Patricia Dillamar
               Date                              Printed Name                                  Signature




PMD 55586352v1 This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of
California.

          June 2012                                                                    F 9013-3.1.PROOF.SERVICE
